Case 09-10138-MFW   Doc 9373-7   Filed 02/05/13   Page 1 of 5




                      EXHIBIT E

                    Proposed Order
              Case 09-10138-MFW               Doc 9373-7        Filed 02/05/13         Page 2 of 5




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE



 -----------------------------------------------------------X
                                                            :
                                                            :       Chapter 11
In re                                                       :
                                                            :       Case No. 09-10138 (KG)
Nortel Networks Inc., et al., 1                             :
                                                            :       Jointly Administered
                                     Debtors.               :
                                                            :
                                                                    RE: D.I. ______
                                                            :
 -----------------------------------------------------------X

              ORDER GRANTING DEBTORS’ TWENTY-NINTH OMNIBUS
         OBJECTION (SUBSTANTIVE) TO CERTAIN CLAIMS PURSUANT TO
           11 U.S.C. § 502, FED. R. BANKR. P. 3007 AND DEL. L.R. 3007-1 (NO-
          BASIS CLAIMS, MODIFY AND ALLOW CLAIMS, RECLASSIFY AND
         ALLOW CLAIMS, WRONG DEBTOR CLAIMS, REDUNDANT CLAIMS,
          AMENDED OR SUPERSEDED CLAIMS, NO-BASIS 503(B)(9) CLAIMS
                            AND NO-BASIS PENSION CLAIMS)

                  Upon the Debtors’ Twenty-Ninth Omnibus Objection (Substantive) to Certain

Claims Pursuant to 11 U.S.C. § 502, Fed. R. Bankr. P. 3007 and Del. L.R. 3007-1 (No-Basis

Claims, Modify and Allow Claims, Reclassify and Allow Claims, Wrong Debtor Claims,

Redundant Claims, Amended or Superseded Claims, No Basis 503(b)(9) Claims and No-Basis

Pension Claims) (the “Objection”) 2 filed by Nortel Networks Inc. and certain of its affiliates, as

debtors and debtors-in-possession in the above-captioned cases (collectively, the “Debtors”),

1
         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification
number, are: Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc.
(9769), Nortel Altsystems International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation
(0251), CoreTek, Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks
Optical Components Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826),
Nortel Networks International Inc. (0358), Northern Telecom International Inc. (6286), Nortel Networks Cable
Solutions Inc. (0567) and Nortel Networks (CALA) Inc. (4226). Addresses for the Debtors can be found in the
Debtors’ petitions, which are available at http://dm.epiq11.com/nortel.
2
        Capitalized terms used, but not otherwise defined, herein shall have the meanings set forth in the Objection.
            Case 09-10138-MFW           Doc 9373-7      Filed 02/05/13     Page 3 of 5




requesting an order pursuant to section 502 of the Bankruptcy Code, Bankruptcy Rule 3007 and

Local Rule 3007-1 modifying, reclassifying, and allowing or disallowing the claims identified in

Exhibits A, B and C attached thereto; and upon the Declaration of John J. Ray, III in Support of

the Debtors’ Twenty-Ninth Omnibus Objection (Substantive) to Certain Claims Pursuant to 11

U.S.C. § 502, Fed. R. Bankr. P. 3007 and Del. L.R. 3007-1 (No-Basis Claims, Modify and Allow

Claims, Reclassify and Allow Claims, Wrong Debtor Claims, Redundant Claims, Amended or

Superseded Claims, No Basis 503(b)(9) Claims and No-Basis Pension Claims), attached to the

Objection as Exhibit D; and upon all other documentation filed in connection with the Objection

and the claims, including certain claims identified in Exhibits A-C of the Objection; and

adequate notice of the Objection having been given as set forth in the Objection; and it appearing

that no other or further notice is required; and the Court having jurisdiction to consider the

Objection and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and the Court

having determined that consideration of the Objection is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and sufficient cause appearing therefor;

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

       1.      The Objection is GRANTED with respect to each of the claims identified in

Exhibits A-C attached thereto.

       2.      All responses to the Objection, if any, are overruled to the extent they have not

been withdrawn, waived or otherwise resolved.

       3.      Each of the No-Basis Claims identified in Exhibit A is hereby disallowed in full.

       4.      Each of the Modified, Reclassified and Allowed Claims identified in Exhibit B is

hereby modified and/or reclassified and allowed for the Modified Claim Amounts identified in

Exhibit B and each of the Wrong Debtor Claims that failed to identify or correctly identify the



                                                 2
              Case 09-10138-MFW          Doc 9373-7     Filed 02/05/13      Page 4 of 5




Debtor liable for such claims identified in Exhibit B is hereby modified and/or reclassified and

allowed against the Identified Debtor.

        5.      Each of the Redundant, Amended or Superseded and No-Basis 503(b)(9) Claims

identified in Exhibits A-C is hereby disallowed in full.

        6.      Each of the No-Basis Pension Claims identified in Exhibits B and C is hereby

disallowed in full.

        7.      Notwithstanding Local Rule 3007-1(f)(iii), with respect to each of the claims in

Exhibits A – C to the Objection lacking supporting documents, to the extent that claimants are

permitted to amend the proofs of claim or otherwise provide documentation or other evidence

supporting the amount of claims that are being disallowed herein, such amendment or provision

shall be subject to the Debtors’ rights to object to such claims on all grounds, whether legal,

factual, procedural, substantive or non-substantive.

        8.      This order shall be deemed a separate order with respect to each of the claims

identified in Exhibits A-C to the Objection. Any stay of this order pending appeal by any

claimant whose claim is subject to this order shall only apply to the contested matter that

involves such claimant and shall not act to stay the applicability and/or finality of this order with

respect to the other contested matters listed in the Objection or this order.

        9.      The Debtors, the Debtors’ claims agent, Epiq Bankruptcy Solutions, LLC, and the

Clerk of this Court are authorized to take all actions necessary and appropriate to give effect to

this order.




                                                  3
               Case 09-10138-MFW         Doc 9373-7       Filed 02/05/13     Page 5 of 5




         10.     This Court shall retain jurisdiction over any and all issues arising from or related

to the implementation and interpretation of this order.


Dated:
         Wilmington, Delaware
                                             _____________________________________
                                             THE HONORABLE KEVIN GROSS
                                             CHIEF UNITED STATES BANKRUPTCY JUDGE




                                                   4
